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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR08-135-RAJ

10          v.                                           DETENTION ORDER

11 BRENTON LLOYD CRAIG,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Import Marijuana and Importation of Marijuana.

15 Date of Detention Hearing: November 1, 2011.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with an offense that carries a rebuttal presumption of detention. He

23 is a Canadian Citizen and the Court received no information about his ties to the District, place



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 1 of residence, employment, health and financial status. The defendant through his lawyer did not

 2 contest release and stipulated to detention.

 3          It is therefore ORDERED:

 4          (1)    Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9          (3)    On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13          (4)    The clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16       DATED this 1st day of November, 2011.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
